             Case 2:14-cv-01141-RSM Document 60 Filed 07/16/15 Page 1 of 1




 1

 2
                                  UNITED STATES DISTRICT COURT
 3                               WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE
 4

 5
     GARY AND SUSAN CARLSON,
 6                                                        NO: C14-1141 RSM
                    Plaintiff,
 7                                                        STIPULATION AND ORDER OF
            v.                                            DISMISSAL
 8
     AMERICAN PACIFIC MORTGAGE
 9   CORPORATION, a California corporation,
10                  Defendant.
11
            Plaintiffs Gary and Susan Carlson and Defendant American Pacific Mortgage
12
     Corporation stipulate to an order of this court dismissing all claims and counterclaims with
13
     prejudice and without costs or attorney’s fees..
14

15          Dated this 14th day of July, 2015.

16   JOHN EVANS LAW, PLLC                                 LINDSAY HART, LLP
     s/John P. Evans, WSBA #8892                          s/Tyson L. Calvert, WSBA #38908
17   Attorney for Plaintiffs Gary and Susan Carlson       s/Elizabeth A. Biermann, WSBA #39530
     1001 Fourth Avenue, Suite 4400                       Attorneys for American Pacific Mortgage
18   Seattle, WA 98154                                    1300 SW 5th Avenue, Suite 3400
19   206.389.1527                                         Portland, OR 97201
     john@johnevanslaw.com                                503.226.7677
20                                                        ebiermann@lindsayhart.com
                                                          tcalvert@lindsayhart.com
21
            It is so ORDERED this 16th day of July 2015.
22

23

24
                                                   A
                                                   RICARDO S. MARTINEZ
                                                   UNITED STATES DISTRICT JUDGE
25


     STIPULATION AND ORDER OF DISMISSAL - 1                           John Evans Law, PLLC
                                                                      1001 Fourth Avenue, Suite 4400
                                                                      Seattle, Washington 98154
                                                                      (206) 389-1527
